                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                        DOCKET NO. 3:13-cr-00095-FDW-DCK
 UNITED STATES OF AMERICA,                         )
                                                   )
        Plaintiff,                                 )
                                                   )
 vs.                                               )
                                                   )                 ORDER
 RODNISHA SADE CANNON,                             )
                                                   )
        Defendant.                                 )
                                                   )

       THIS MATTER is before the Court on two motions filed pro se by Defendant: “Motion

for Reduction of Sentence,” (Doc. No. 28), and Motion to Reduce Sentence and for Home

Confinement (Doc. No. 29). While these motions were pending, Defendant was released from the

custody of the Bureau of Prisons. (https://www.bop.gov/inmateloc/ visited 11/1/2021). After

reviewing the specific relief requested by Defendant in the motions, and based on the specific

arguments asserted in support thereof (Doc. Nos. 28, 29), the Court DENIES AS MOOT both

motions.

       IT IS THEREFORE ORDEREED that Defendant’s Motions for Reduction in Sentence

(Doc. Nos. 28, 29) are DENIED AS MOOT.

       IT IS SO ORDERED.

                                   Signed: November 1, 2021




                                               1



       Case 3:13-cr-00095-FDW-DCK Document 37 Filed 11/01/21 Page 1 of 1
